     Case 8:19-cr-00047-JLS Document 39 Filed 01/30/20 Page 1 of 3 Page ID #:171



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     Attorneys for Plaintiff
10   UNITED STATES OF AMERICA

11                          UNITED STATES DISTRICT COURT

12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

13                                 SOUTHERN DIVISION

14   UNITED STATES OF AMERICA,               No. SA CR 19-00047-JLS

15                   Plaintiff,              JOINT STATUS REPORT

16                   v.                      DATE:
                                             STAT. CONF.: 1/31/20 at 11:30 a.m.
17   STEPHEN WILLIAM BEAL,

18                   Defendant.

19

20        Plaintiff United States of America, by and through its counsel
21   of record, the United States Attorney for the Central District of
22   California and Assistant United States Attorneys Mark Takla and
23   Annamartine Salick, and defendant STEPHEN WILLIAM BEAL through his
24   counsel of record, Federal Public Defender Amy Karlin, Deputy Federal
25   Public Defender Joseph Trigilio, and Richard Novak, hereby file this
26   Joint Status Report:
27        1.   On March 13, 2019, the United States filed an indictment
28   against defendant STEPHEN WILLIAM BEAL which included three offenses
     Case 8:19-cr-00047-JLS Document 39 Filed 01/30/20 Page 2 of 3 Page ID #:172



1    punishable by death: 18 U.S.C. § 2332a(a)(2) (Use of a Weapon of Mass

2    Destruction Resulting in Death); 18 U.S.C. § 844(i) (Malicious

3    Destruction of a Building Resulting in Death); and 18 U.S.C. § 924(c)

4    (Use of a Destructive Device During and in Relation to a Crime of

5    Violence.   The Attorney General of the United States has not yet

6    determined if he will or will not direct the government to seek the

7    death penalty.   Defendant is also charged with violation of 26 U.S.C.

8    § 5861(d) (Possession of an Unregistered Destructive Device).

9         2.     On April 29, 2019, the Court held a status conference

10   whereby it continued the trial until July 14, 2020 and set a further

11   status conference for November 1, 2019.        On October 21, 2019, the

12   Court granted the parties request to continue the status conference

13   to January 31, 2020.

14        3.     On July 29, 2019, the government notified defendant that

15   the Attorney General’s Capital Case Review Committee requested a

16   meeting with defendant’s counsel.       That meeting occurred on November

17   18, 2019 in Washington, DC.      Counsel for defendant met with the

18   Attorney General’s Capital Case Review Committee and presented facts

19   and argument as to why the Attorney General should not authorize the

20   government to seek the death penalty.

21        4.     The government believes that it will take several months

22   beyond the November 18, 2019 meeting before the Attorney General will

23   make a decision on this matter.       On January 23, 2020, government

24   counsel inquired as to the status of the decision.          Counsel was told

25   there is no update.

26        5.     The parties believe it is difficult to set motion and other

27   deadlines without a decision from the Attorney General.

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     Case 8:19-cr-00047-JLS Document 39 Filed 01/30/20 Page 3 of 3 Page ID #:173



1         6.   Discovery production is ongoing.         To this date, the

2    government has disclosed approximately 43,000 pages and seven hard

3    drives of discovery.     The government is disclosing discovery as it

4    becomes available.    The government is disclosing discovery and the

5    parties are diligently addressing numerous complex evidentiary

6    issues.

7         7.   At this time, the parties do not have any issues that they

8    need to address with the Court.

9    Dated: January 30, 2020              Respectfully submitted,

10                                        NICOLA T. HANNA
                                          United States Attorney
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                                          PATRICK R. FITZGERALD
12                                        Assistant United States Attorney
                                          Chief, National Security Division
13

14
                                          MARK TAKLA
15                                        ANNAMARTINE SALICK
                                          Assistant United States Attorneys
16
                                          Attorneys for Plaintiff
17                                        UNITED STATES OF AMERICA

18

19   Dated: January 30, 2020
                                          /s/ via email authorization
20                                        AMY KARLIN
                                          JOSEPH TRIGILIO
21                                        RICHARD NOVAK
                                          Attorney for Defendant
22                                        Stephen William Beal
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